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 6                                  UNITED STATES DISTRICT COURT

 7                                         DISTRICT OF NEVADA

 8    UNITED STATES OF AMERICA,                          )
                                                         )
 9                           Plaintiff,                  )
                                                         )
10            v.                                         )          2:10-CR-283-PMP (PAL)
                                                         )
11    ALFREDA IRUNGARAY,                                 )
                                                         )
12                           Defendant.                  )

13                                        ORDER OF FORFEITURE

14            On February 14, 2011, defendant ALFREDA IRUNGARAY pled guilty to Count Five of a

15    Eight-Count Criminal Indictment charging her in Count Five with Bank Fraud and Aiding and

16    Abetting in violation of Title 18, United States Code, Sections 1344(1) and (2) and Title 18, United

17    States Code, Section 2 and agreed to the forfeiture of property set forth in the Forfeiture Allegations

18    in the Criminal Indictment.

19            This Court finds that ALFREDA IRUNGARAY shall pay a criminal forfeiture money

20    judgment of $131,755.00 in United States Currency to the United States of America, pursuant to Fed.

21    R. Crim. P. 32.2(b)(1) and (2), Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United

22    States Code, Section 2461(c); and Title 18, United States Code, Section 982(a)(2).

23    ...

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26    ...
     Case 2:10-cr-00283-KJD-GWF          Document 45    Filed 03/01/11   Page 2 of 3




 1            THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the United
 2    States recover from ALFREDA IRUNGARAY a criminal forfeiture money judgment in the amount
 3    of $131,755.00 in United States Currency.
 4                          1st day
              DATED this ______  day of
                                     of March, 2011.
                                        __________________, 2011.
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                                                  UNITED STATES DISTRICT JUDGE
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 1                                          PROOF OF SERVICE
 2            I, Heidi L. Skillin, certify that the following individuals were served with copies of the Order
 3    of Forfeiture on February 28, 2011 by the below identified method of service:
 4            Electronic Filing
 5            Thomas Augustus Claus
              Legal Resource Group
 6            205 N. Stephanie Street, Suite D221
              Henderson, NV 89074
 7            tclaus@rgrougplaw.com
              Counsel for Alfreda Irungaray
 8
              Jonathan Powell
 9            214 South Maryland Parkqway
              Las Vegas, NV 89101
10            jpowell.law@gmail.com
              Counsel for Helen Kane
11

12

13                                                          /s/HeidiL.Skillin
                                                            HEIDI L. SKILLIN
14                                                          Forfeiture Support Associate Clerk
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